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                   T]IYITED STATES DISTRICT COtiRT
                      DISTRICT OF COIINECTICUT

IN RE                         )
CODIVERGENT OUTSOURCING, rNC. )      Master Docket No.
TELEPIIOI\E CONST]MER         )      MDLNo.2478
PROTECTION ACT LITIGATION     )
                                )
                                )


                FINAL APPROVAL ORDER AND JTIDGMENT
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         The Court having held a Final Approval Hearing on November 10, 2016, notice of the

hearing having been duly given in accordance with this Court's Order (1) Conditionally Certiffing

a Settlement Class, (2) Preliminarily Approving Class Action Settlement, (3) Approving Notice

Plan and (4) Setting Final Approval Hearing (as amended, the "Preliminary Approval Order"),

and having considered all matters submitted to it at the Final Approval Hearing and otherwise,

and finding no just reason for delay in entry of this Final Approval Order and good cause

appearing therefor,

         It is hereby ORDERED, ADJUDGED AND DECREED                        as   follows:

         1.        The Settlement Agreement and Release dated February 5,2016, including its

Exhibits (the "Agreement"), and the definitions of words and terms contained therein, are

incorporated by reference and are used hereafter. The terms and definitions of this Court's

Preliminary Approval Order (Dkt. No. 238) are also incorporated by reference in this Final

Approval Order.

         2.        This Court has jurisdiction over the subject maffer of the Action and over the

Pafties, including all Settlement Class Members with respect to the Settlement Classes certified

for sefflement purposes in this Court's Preliminary Approval Order, as follows:


                   Rule 23(b)(3) Class

                       All persons called by Convergent on a cellular telephone who (a)
                       had been reported to Convergent as a wrong number; (b)
                       previously iequested Conver                         telephon-e
                       number; (c) cátted after prov                       notice of
                       bankruptòy;                                         of an internal
                       attorney hân                                        a cell number
                       obtained via                             on or                      2008
                       through and including the date
                                                        "       ilJj                       the
                                                              ed and any member of the
                                                              and well as all persons who are
                                                            om the Rule 23(b)(3) Class.

                       Rule 23(b)(2) Class

                       All persons who were called by Convergent on their cellular
                       teleþhone, on or after October 26,2008 through and incl-lding the
                       daté of entry of the Preliminary Approval Order." Excluded from

                                                            2
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               the Rule 23(b)(2) Class are the Judge to whom the Action is
               assignedan                                        immediate
               famÍy, and                                       out or excluded
               from êither                                          (bX3) Class'


         3.    The Court hereby finds that the Agreement is the product of atm's length

settlement negotiations between Plaintiffs and Convergent.

         4.    The Court hereby finds and concludes that Class Notice was disseminated to

persons in the Rule 23(bX3) Class in accordance with the terms of the Agreement and that the

Class Notice and its dissemination were in compliance with this Court's Preliminary Approval

Order.
         5.    The Court further finds and concludes that the Class Notice and claims

submission procedures set forth in the Agreement fully satisfu Rule 23 of the Federal Rules       of

Civil Procedure   and the requirements   of due process, were the best notice practicable under the

circumstances, provided due and sufficient individual notice to all persons in the Rule 23(b)(3)

Class who could be identified through reasonable effort and support the Court's exercise     of

jurisdiction over the Settlement Classes as contemplated in the Agreement and this Final

Approval Order.

         6.    The Court notes that no class member or governmental entity filed an objection to

the Agreement or any aspect of the Settlement.

         7.    The Court hereby finally approves the Agreement and finds that the terms

constitute, in all respects, a fair, reasonable and adequate settlement as to all Settlement Class

Members in accordance with Rule 23 of the Federal Rules of Civil Procedure.

         8.    The Court hereby finally certifies the Sefflement Classes for settlement purposes.

The Court finds for sefflement purposes that the Action satisftes all the requirements of Rule 23

of the Federal Rules of Civil Procedure.




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       g.       The Court hereby approves the plan of distribution for the Settlement Fund as set

forth in the Agreement. The Claims Administrator is hereby ordered to comply with the terms of

the Agreement with respect to distribution of Settlement Awards, the Second Distribution and

disposition of any Remaining Funds thereafter. Should any Remaining Funds be distributed, the

Court hereby approves the National Consumer Law Center           as   the cy pres recipient.

       10.      This Court hereby dismisses this Action, with prejudice, without costs to any

party, except as expressly provided for in the Agreement.

       1   1.   As of the Effective Date, the Plaintiffs and each and every one of the Rule

23(b)(3)Class Members unconditionally, fully and frnally release and forever discharge the

Released Palties from the Released Claims as frrlly set forth in the Agreement. In addition, any

rights of Plaintiffs and each and every one of the Rule 23(b)(3) Class Members to the protections

afforded under Section 1542 of the California Civil Code and/or any other similar, comparable or

equivalent laws   will   be terminated.

       t2.      Plaintiffs and each and every Rule 23(bX3) Class Member, and any person

actually or purportedly acting on behalf of Plaintiffs or any Settlement Class Member, are hereby

permanently barred and enjoined from commencing, instituting, continuing, pursuing,

maintaining, prosecuting or enforcing any Released Claims (including, without limitation, in any

individual, class or putative class, representative or other action or proceeding), directly or

indirectly, in any judicial, administrative, arbitral or other forum, against the Released Parties.

This permanent bar and injunction is necessary to protect and effectuate the Agreement, this

Final Approval Order and this Court's authority to effectuate the Agreement, and is ordered in

aid of this Court's jurisdiction and to protect its judgments.




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        13.      This Court hereby PERMANENTLY AND FOREVER ENJOINS the Rule

23(b)(2) Class from any effort by any Rule 23(b)(2) Class Member        to bring a putative   class


action against Convergent, lnc. and each and all of its and their present, former and future direct

and indirect parent companies, affiliates, subsidiaries, agents, successors, predecessors in

interest, insurers, and all of the respective officers, directors, employees, attorneys, shareholders,

agents, representatives, and assigns of the aforementioned for any purported violations of the

TCPA that occurred during the Rule 23(b)(2) Class time period. Convergent is

pERMANENTLY AND FOREVER ENJOINED from moving to dismiss any TCPA claim

raised by a Rule 23(b)(2) Class member on an individual basis for a violation that allegedly

occurred during the Class time period as to a failure of any party to plead that an Automatic

Telephone Dialing System ("ATDS") was used. Convergent shall further admit that it used an

ATDS for purported violations of the TCPA that occuned during the Rule 23(b)(2) Class time

period so long as the claim is made on an individual basis'

        14.     The Agreement (including any and all exhibits attached thereto) and any and all

negotiations, documents, and discussions associated with it      will not   be deemed or construed to be


an admission or evidence of any violation of any statute, law, rule, regulation or principle     of

common law or equity, or of any liability or wrongdoing by Convergent, or the truth of any            of

the claims. Evidence relating to the Agreement     will not   be discoverable or used, directly or

indirectly, in any way, whether in the Action or in any other action or proceeding, except for

purposes of demonstrating, describing, implementing or enforcing the terms and conditions             of

the Agreement, the Preliminary Approval Order and/or this Final Approval Order.

        15.     If for any reason whatsoever this Settlement fails to become effective for any

reason, the certification of the Settlement Classes shall be void and the Parties and the Action



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will   return to the status quo as it existed prior to the Agreement, and no doctrine of waiver,

estoppel or preclusion   will   be asserted, in any proceedings, in response to any motion seeking.

class certification, any motion seeking to compel arbitration or otherwise asserted at any other

stage of the Action or in any other proceeding. No agreements, documents or statements made

by or entered into by any Party in connection with the Settlement may be used by Plaintiffs, any

person in the Settlement Classes, Convergent or any other person to establish liability, any

defense andlor any of the elements of class certification, whether in the Action or in any other

proceeding.

          16.     In the event that the Sefflement fails to become effective for any reason, the

money remaining in the Settlement Fund (including accrued interest), less expenses and taxes

incurred or due and owing and payable from the Settlement Fund in accordance with the

Agreement, shall be returned to Convergent within 15 days of the event that causes the

Agreement to not become effective.

          17.     In the event that any provision of the Agreement or this Final Approval Order is

asserted by Convergent as a defense in whole or in part to any claim, or otherwise asserted

(including, without limitation, as a basis for a stay) in any other suit, action or proceeding

brought by a Settlement Class Member or any person actually or purportedly acting on behalf           of

any Settlement Class Member(s), that suit, action or other proceeding shall be immediately

stayed and enjoined until this Court or the court or tribunal in which the claim is pending has

determined any issues related to such defense or assertion. Solely for purposes of such suit,

action or other proceeding, to the fullest extent they may effectively do so under applicable law,

the Parties irrevocably waive and agree not to assert, by way of motion, as a defense or

otherwise, any claim or objection that they are not subject to the jurisdiction of the Court, or that



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the Court is, in any \¡/ay, an improper venue or an inconvenient forum. These provisions are

necessary to protect the Agreement, this Final Approval Order and this Court's authority to

effectuate the Agreement, and are ordered in aid of this Court's jurisdiction and to protect its

judgment.

        18.    By incorporating the Agreement and its terms herein, the Court determines that

this Final Approval Order complies in all respects with Federal Rule of Civil Procedure 65(dX1)'

        19.    Class Counsel have moved pursuant to FED. R. CIV. P. 23(h) and 52(a) for an

award of attorneys' fees and reimbursement of expenses. Pursuant to Rules 23(hX3) and 52(a)

this Court makes the following findings of fact and conclusions of law:

               (a)     that the Class Settlement confers substantial benefits on the Settlement

Class Members;

               (b)     that the value conferred on the Settlement Class is immediate and readily

quantifiable (upon this Judgment becoming Final (as defined in the Agreement), Settlement

Class Members who have submitted valid Settlement Claim Certification Forms         will receive

cash payments that represent a significant portion of the damages that would be available to them

were they to prevail in an individual action under the Telephone Consumer Protection Act

("TCPA");

                (c)    that Class Counsel vigorously and effectively pursued the Settlement

Class Members' claims before this Court in this complex case;

                (d)    that the Class Sefflement was obtained as a direct result of Class Counsel's

advocacy;




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                 (e)    that the Class Settlement was reached following extensive negotiation

between Class Counsel and Counsel for Convergent, and was negotiated in good-faith and in the

absence of collusion;

                 (Ð     that Settlement Class Members were advised in the Class Notice approved

by the Court that Class Counsel intended to apply for an award of attorneys' fees and expenses

incurred in the prosecution of the Litigation, to be paid from the Settlement Fund;

                 (g)    that no member of the Settlement Class has submitted a written

objection to the award of attorneys' fees and expenses;

                 (h)    that counsel who recover a common benefit for persons other than himself

or his client is entitled to a reasonable attorneys' fee from the Settlement Fund as a whole.   ,S¿ø


e.g., Boeing co. v. van Gemert,444 U.S. 472,478 (1980); BIum v. Stenson,465 U.S. 866, 900

n.16 (1984).

         Accordingly, Class Counsel are hereby awarded $ 1,833,333.33 from the Settlement Fund

as   their fee award, which the Court finds to be fair and reasonable, and $50,848.20 in expenses,

which amounts shall be paid to Class Counsel from the Settlement Fund in accordance with the

terms of the Agreement. Class Counsel shall be responsible for allocating these awards among

 Class Counsel.

          20. The Class Representatives, as identified in the Preliminary Approval    Order, are

hereby compensated each in the amount of $ 5,000 for their efforts in this case.




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It is so ordered.

Dated this 10th day of November 2016, atHartford, Connecticut.


                                                   /s/ Judge Alvin W. Thompson
                                                            Alvin W. Thompson
                                                          United States District Judge




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